                                      UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA

                                     TEMPORARY RESTRAINING ORDER
                                                (TRO)
                                             CHECKLIST

NOTE:          When filing a Motion for a TRO with the court, you must choose Motion for TRO. You must
               complete this document and attach i" to your motion as an attachment in CM/ECF. If you have
               questions, please call the CM/ECF Help Desk at 1-866-884-5525 (Sacramento) or
               1-866-884-5444 (Fresno).


(A)     Check one.     Filing party is represented by counsel        G
                                                                     V



                       Filing party is acting in pro se              G

(B)     Has there been actual notice, or a sufficient showing of efforts to provide notice to the affected party?
        See Local Rule 231 and FRCP 65(b).
        Yes, Plaintiff's counsel provided notice to counsel for Defendant via email on February 19, 2020.




        Did applicant discuss alternatives to a TRO hearing?
        Yes, the parties met and conferred to attempt to reach a standstill agreement pending hearing on a
        preliminary injunction, but the parties were unable to reach an acceptable agreement.


        Did applicant ask opponent to stipulate to a TRO?
        Defendant will not stipulate to a TRO and intends to oppose the motion.




        Opposing Party: Dana J. Finberg, ARENT FOX, LLP

        Telephone No.: 415.757.5897




(C)     Has there been undue delay in bringing a TRO?
        No. Cutera brought the TRO as soon as its preliminary forensic reports were completed regarding
        Lutronic's employees' transfer, copying, and deletion of data from Cutera's computers.



        Could this have been brought earlier?

               Yes:    G               No:     G
                                               se
TRO Checklist - Page 2


(D)   What is the irreparable injury?
       Defendant Lutronic and its employees have taken and are using Cutera's Trade Secret Information and
       are using it to compete unlawfully against Cutera, including using it to solicit and hire approximately 13
       employees to the detriment of Cutera.

      Why the need for an expedited hearing?
       Lutronic employees have downloaded and transferred Cutera trade secrets to external accounts or
       devices and have deleted Cutera information and relevant evidence. An expedited hearing is necessary
       to immediately stop this conduct from further damaging Cutera, and to preserve evidence.


(E)   Documents to be filed and (unless impossible) served on affected parties/counsel:

      G       (1)     Complaint

      G       (2)     Motion for TRO

      G       (3)     Brief on all legal issued presented by the motion

      G       (4)     Affidavit detailing notice, or efforts to effect notice, or showing why it should not be given

      G       (5)     Affidavit in support of existence of irreparable harm

      G       (6)     Proposed order with provision for bond

      G       (7)     Proposed order with blanks for fixing:

                      G      Time and date of hearing for motion for preliminary injunction

                      G      Date for filing responsive papers

                      G      Amount of bond, if any

                      G      Date and hour of issuance

      G
      V       (8)     For TROs requested ex parte, proposed order shall notify affected parties the" can
                      apply to the court for modification/dissolution on 2 days notice or such shorter notice as
                      the court may allow. See Local Rule 231 and FRCP 65(b)
